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                         IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF TEXAS

                                        LUFKIN DIVISION

JASON J. HERNANDEZ                                §

VS.                                               §       CIVIL ACTION NO.         9:17-CV-23

GREGG ABBOTT, et al.,                             §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

       Plaintiff, Jason J. Hernandez, an inmate confined at the Polunksy Unit of the Texas

Department of Criminal Justice, Correctional Institutions Division (TDCJ-CID), filed this civil rights

action pursuant to 42 U.S.C. § 1983. Plaintiff has requested certification of a class action.

       The above-styled action was referred to the undersigned Magistrate Judge pursuant to 28

U.S.C. § 636 and the Local Rules for the Assignment of Duties to the United States Magistrate Judge

for findings of fact, conclusions of law, and recommendations for the disposition of the case.

                                        Factual Background

       Plaintiff alleges he has been incarcerated in the Polunsky Unit SHU for an unconscionably

long period of time without meaningful review of his placement in violation of the Eighth

Amendment prohibition against cruel and unusual punishment. Plaintiff seeks class certification.

                                              Analysis

       Requirements for Certification of a Class

       The purpose of a class action is to conserve resources of both the courts and the parties by

economically litigating issues that potentially affect every class member. General Telephone Co.

of Southwest v. Falcon, 457 U.S. 147, 155 (1982); Jenkins v. Raymark Industries, Inc., 782 F.2d 468,
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471 (1986). To further this goal, a member of a class may bring suit as a representative on behalf

of the other members only if: (1) joinder of all members is impracticable because the class is so

numerous; (2) there are common questions of law or fact; (3) the claims of the representative are

typical of the claims of the class; and (4) the representative party will fairly and adequately protect

the interests of the class. FED. R. CIV. P. 23(a); See also Jenkins, 782 F.2d at 471.

       In addition to proving each of the four requirements of Rule 23(a), the representative must

also show the existence of one of three possible scenarios in order to maintain the action as a class

action. FED. R. CIV. P. 23(b). First, a class action may be maintained if the prosecution of separate

actions by the class members would create a risk of either inconsistent adjudications or adjudications

that substantially impair the ability of the remaining class members to protect their interests. FED.

R. CIV. P. 23(b)(1). The second situation where a class action may be maintained is where “the party

opposing the class has acted or refused to act on grounds that apply generally to the class, so that

final injunctive relief or corresponding declaratory relief is appropriate respecting the class as a

whole.” FED. R. CIV. P. 23(b)(2). Finally, a class may be certified if questions of law or fact

common to the members of the class predominate over questions affecting the individual members,

and a class action is the superior method to fairly and efficiently adjudicate the controversy. FED.

R. CIV. P. 23(b)(3).

       The party seeking class certification bears the burden of proving each element required for

certification. M.D. v. Perry, 675 F.3d 832, 837 (5th Cir. 2012).

       Numerosity

       The court has wide discretion to determine numerosity and the practicality of joinder. Jones

v. Diamond, 519 F.2d 1090, 1100 (5th Cir. 1975). Although the plaintiffs are not required to specify


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the exact number of class members or to individually identify each member, the potential class

members must be so numerous that joinder of each individual is impractical. FED. R. CIV. P.

23(a)(1). Smaller classes are more acceptable where the plaintiffs seek equitable relief on behalf of

future class members in addition to past and present members. Jones, 519 F.2d at 1100.

       Plaintiff asserts the potential class consists of 200 prisoners currently imprisoned at the

Polunsky SHU. It would be impracticable to join each of these potential plaintiffs in one action.

Thus, it appears the numerosity prong of Rule 23(a) is satisfied.

       Commonality

       The commonality and typicality requirements are similar in that both “serve as guideposts

for determining whether . . . maintenance of a class action is economical and whether the named

plaintiff’s claim and the class claims are so interrelated that the interests of the class members will

be fairly and adequately protected in their absence.” General Telephone Co. Of Southwest, 457 U.S.

at 157 n. 13. The commonality requirement is not satisfied by merely demonstrating that the

potential class members suffered a violation of the same law. Wal-Mart Stores, Inc. v. Dukes, 131

S. Ct. 2541, 2551 (2011). The claims of the potential class members must depend on a common

contention, and the resolution of that common contention must be central to the validity of each

member’s claim. Id. A class action must be capable of generating common answers to common

questions. Id.

        It appears that plaintiff has satisfied the commonality prong of the analysis because he

asserts that all 200 Polunsky SHU prisoners have been denied meaningful notice and review.




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         Typicality

         Typicality focuses on the similarity of legal and remedial theories advanced by the plaintiffs.

Jenkins, 782 F.2d at 472. Plaintiff appears to satisfy the typicality requirement.

         Adequacy

         A class representative must be able to adequately and fairly represent the class. FED. R. CIV.

P. 23(a)(4). In the instant case, there is nothing to indicate that the interests of the named plaintiff

are adverse to the interests of the remaining class members. However, as a pro se litigant, it is

questionable whether the proposed class representative would adequately represent the interests of

the other class members. McGrew v. Texas Bd. of Pardons & Paroles, 47 F.3d 158, 162 (5th Cir.

1995).

         Conclusion

         Plaintiff does not meet each of the requirements necessary for class certification set forth in

Rule 23(a). Accordingly, his request for class certification should be denied.

                                           Recommendation

         The motion for class certification should be denied.

                                              Objections

         Within fourteen days after receipt of the Magistrate Judge’s report, any party may serve and

file written objections to the findings of facts, conclusions of law and recommendations of the

Magistrate Judge. 28 U.S.C. § 636(b)(1)(C).

         Failure to file written objections to the proposed findings of facts, conclusions of law and

recommendations contained within this report within fourteen (14) days after service shall bar an

aggrieved party from de novo review by the district court of the proposed findings, conclusions and


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recommendations and from appellate review of factual findings and legal conclusions accepted by

the district court except on grounds of plain error. Douglass v. United Services Automobile

Association, 79 F.3d 1415, 1417 (5th Cir. 1996) (en banc); 28 U.S.C. § 636(b)(1); FED. R. CIV. P.

72.

         SIGNED this the 14th day of March, 2017.




                                           ____________________________________
                                           KEITH F. GIBLIN
                                           UNITED STATES MAGISTRATE JUDGE




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